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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                    Honorable Marcia S. Krieger

  Civil Action No. 06-cv-02318-MSK-MJW

  ABRAHAM J. OSMAN, and
  DOROTHY K. OSMAN,

                  Plaintiffs,

  v.

  THE UNITED STATES OF AMERICA,

                  Defendant.


                 PRE-TRIAL PREPARATION AND TRIAL SETTING ORDER
                                     -CIVIL


          The above-captioned matter has been scheduled for a four (4) day jury trial on the docket

  of the Honorable Marcia S. Krieger in the United States District Court for the District of

  Colorado, Courtroom A901, Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver,

  Colorado, to commence at 1:00 p.m. on April 7, 2008. This setting is on a trailing docket in

  third position. To ensure that the parties are adequately prepared for trial as scheduled, this Order

  sets deadlines that supplement the Scheduling Order and imposes trial preparation requirements.

  If a party to this case is incarcerated, it is the responsibility of that party to provide a copy of this

  order and all other orders issued in this case to his or her case manager. For purposes of

  attending a scheduled hearing by telephone, the case manager should contact the Courtroom

  Deputy Clerk, Patti Torok-Glover at (303)335-2185 two (2) business days prior to the hearing to

  make the necessary arrangements.
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          The deadlines are:

                  1. Rule 702 motions shall be filed by September 7, 2007.

                  2. Final pretrial conference is January 4, 2008 at 4:00 p.m.

                  3. Trial is scheduled for April 7, 2008 at 1:00 p.m.

                                         A. Applicable Rules

          This proceeding is subject to the Federal Rules of Civil Procedure, the Federal Rules of

  Evidence, the Local Rules of Practice for the United States District Court for the District of

  Colorado and the MSK Civ. Practice Standards. A copy of the Practice Standards is available

  from the Clerk’s office or can be downloaded from the Court’s website at

  http://www.co.uscourts.gov/judges/msk_ps_civil.pdf. Parties who are not represented by counsel

  (pro se) will be held responsible for knowledge of and compliance with all applicable rules and

  provisions of this Order. References in this Order to “counsel”applies to parties appearing pro

  se.

                                B. Dispositive and Rule 702 Motions

          Dispositive motions and Rule 702 motions are subject to the same filing deadline. The

  Magistrate Judge may extend this deadline, but shall not extend it beyond 120 days prior to the

  final pretrial conference.

          The format for dispositive motions is set out in MSK Civ. Practice Standard V.H, found at

  http://www.co.uscourts.gov/judges/msk_ps_civil.pdf. The format for Rule 702 motions is found

  at http://www.co.uscourts.gov/judges/msk_702procedures.pdf. Failure to use the appropriate

  format may result in a delayed ruling on the motion. If determination of a Rule 702 motion is

  required for determination of a dispositive motion, please so state in the title of the Rule 702

  motion.
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                                      C. Final Pre-Trial Conference

            The Final Pre-Trial Conference shall be conducted by the undersigned in Courtroom

  A901. Lead counsel who will try the case and the party (or, in the case of legal entities, a

  representative of the entity with full authority to discuss and approve settlements) shall

  attend.

            The purpose of the conference is to ensure that the parties will be fully prepared to

  proceed to trial. At the hearing, the Court will review the Proposed Pre-Trial Order, determine

  what disputed issues will be tried, determine what facts are stipulated or in dispute, resolve some

  or all pending motions and set such other deadlines or hearings as required. Counsel should be

  prepared to address these issues and any others specified in Fed.R. Civ.P.16. Counsel shall have

  their calendars available.

                                      D. Proposed Pre-Trial Order

            The purpose of the trial is to resolve disputed facts after which the law is then applied to

  the material facts. For this case to be ready for trial, the parties must have made final

  determinations as to which claims and affirmative defenses must be tried, the elements of the

  claims and affirmative defenses, and whether the element will be established as by stipulation or by

  evidence pertinent to disputed facts.

            Counsel shall meet and confer sufficiently in advance of the Pre-Trial Conference to jointly

  develop a Proposed Pre-Trial Order conforming to the following requirements:

            1. Format

            Except as specifically modified herein, parties should use the format of Appendix G of this

  Court’s Local Civil Rules for the Proposed Pre-Trial Order, available at the Court’s website. See

  www.co.uscourts.gov/forms/fin_pre_ord_new.pdf. Such format shall be modified as follows:

            Section 3: Claims and Defenses –Parties are encouraged to omit a narrative summary of
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  the claims, defenses, facts, and legal theories. If a party includes a narrative summary, such

  summary shall not exceed one page in length.

         Regardless of whether a narrative is included, this section MUST include a separate

  enumeration of each claim and affirmative defense to be tried. For each claim and affirmative

  defense, the parties shall designate:

         1) which party has the burden of proof;

         2) the standard of proof;

         3) if governed by state law, the applicable state law; and

         4) each element, separately stated. For each element, the parties should state whether it is

         stipulated. If not, the party with the burden of proof must state the fact(s) referring

         specifically to each witness and exhibit which will be presented to establish such facts.

  Any claims or affirmative defenses not specifically identified and supported as required above will

  be deemed waived.

  Example:       Claim 1: Breach of contract under Colorado law
                 Plaintiff has burden of proof by a preponderance of the evidence

                 Elements:       (1)-(3) offer, acceptance, consideration
                                         (a) the parties stipulate that these elements are satisfied
                                 (4) performance by the plaintiff
                                         (a) On March 3, 2004, Peter Plaintiff delivered one crate of
                                         widgets to Widget Packers, Inc. (Testimony of Peter
                                         Plaintiff; Don Defendant; Exhibits 1, 4)
                                         (b) The widgets conformed to the specifications in the
                                         contract. (Testimony of Peter Plaintiff; Exhibit 2)
                                         (c) The widgets were delivered on the date set by the
                                         contract. (Exhibit 2)
                                 (5) non-performance by the defendant
                                         (a) Widget Packers, Inc. failed to remit payment on the
                                         terms set by the contract. (Testimony of Barry Bookkeeper;
                                         Exhibit 2)
                                         (b) Peter Plaintiff has made several written demands for
                                         payment. (Peter Plaintiff; Exhibits 3, 5, 7)
                                 (6) damages
                                         (a) Peter Plaintiff has been damaged in the contract amount
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                                        of $10,000. (Testimony of Peter Plaintiff; Exhibit 2).

                 Claim 2: Unjust Enrichment under Colorado law
                 Plaintiff has burden of proof on all elements by a preponderance of the evidence

                 Elements:      (1) Defendant has received a benefit
                                        (a) On March 3, 2004, Peter Plaintiff delivered one crate of
                                        widgets to Widget Packers, Inc. pursuant to a contractual
                                        agreement. (Testimony of Peter Plaintiff; Don Defendant;
                                        Exhibits 1, 2, 4).
                                (2) the benefit is at the Plaintiff’s expense
                                        (a) Widget Packers, Inc. failed to remit payment on the
                                        terms set by the contract. (Testimony of Barry
                                        Bookkeeper, Exhibit 2)
                                (3) justice requires that Defendant reimburse the Plaintiff for
                                the benefit received
                                        (a) The widgets have a market value of $15,000.
                                        (Testimony of Peter Plaintiff)
                                        (b) Don Defendant is in breach of the contract. (Testimony
                                        of Peter Plaintiff)

                 Affirmative Defense to Claim 2: Failure to mitigate under Colorado law
                 Defendant has burden of proof on all elements by a preponderance of the evidence

                 Elements:      (1) Plaintiff had a reasonable opportunity to avoid injury
                                        (a) On March 5, 2004, Don Defendant left a message on
                                        Peter Plaintiff’s voice mail offering to return the crate of
                                        widgets unopened. (Testimony of Don Defendant; Peter
                                        Plaintiff)
                                        (b) On March 8, 2004, Don Defendant wrote to Peter
                                        Plaintiff, offering to assign the contract for the purchase of
                                        widgets to WidgetCo. (Don Defendant; Warren Widget;
                                        Exhibit 6)
                                (2) Plaintiff unreasonably failed to avail itself of opportunities
                                to avoid injury
                                        (a) Peter Plaintiff did not respond to the March 5, 2004
                                        message. (Don Defendant)
                                        (b) Peter Plaintiff did not respond to the March 8, 2004
                                        letter. (Don Defendant)

         Section 4: Stipulations of fact –The purpose of trial is to resolve only disputed facts. A

  party who refuses to stipulate to particular facts should be prepared to identify and produce

  specific items of contradictory evidence, or to identify the anticipated source of such evidence and

  demonstrate why such evidence could not previously have been obtained. Fed. R. Civ. P.
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  11(b)(4).

          Section 5: Pending motions –In addition to the information required in Appendix G,

  parties shall also identify all motions either party anticipates making prior to trial, including the

  relief to be requested.

          Section 6: Witnesses –In lieu of the designations required in Appendix G, the parties

  shall attach a single joint list of all witnesses a party intends to call. The form is found at:

  www.co.uscourts.gov/judges/msk_witness.pdf. There should be no designation as “may call”or

  “will call.” Unless the parties stipulate that a certain witness shall be present, the party desiring

  the witness’attendance must secure it. Include the maximum estimated length of time necessary

  for direct and cross-examination. Direct examination should include redirect examination.

  Witnesses who will be called in both the Plaintiff’s and Defendant’s case can be listed once, with

  the amount of time estimated for Plaintiff’s direct examination, Defendant’s direct examination,

  Plaintiff’s cross-examination, and Defendant’s cross-examination separately listed in the

  appropriate columns.

          Section 7: Exhibits –The listing of exhibits shall be on a single joint exhibit list using the

  form available at www.co.uscourts.gov/judges/msk_exhibit.pdf. Exhibits shall be sequentially

  numbered.

          The provisions of subsection (b) of Appendix G regarding the filing of objections to

  exhibits are waived. All objections are reserved for trial.

          2. Submission

          Counsel shall submit the joint Proposed Pre-Trial Order to the Court via e-mail to

  krieger_chambers@cod.uscourts.gov, no later than 14 days before the scheduled date of the Pre-
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  Trial Conference. The format must be in WordPerfect or Microsoft Word.1 The e-mail subject

  line should contain the full case name (an abbreviated form is permitted for longer case names)

  and docket number. The body of the e-mail shall also contain the submitting attorney’s name,

  address, telephone number, and e-mail address and/or fax number.

                                    E. Conflicts in Trial Scheduling

          Any problems in the trial setting or special needs for witness scheduling shall be addressed

  at the Final Pre-Trial Conference. Except as agreed by counsel, designated witnesses shall be

  available during the entire trial period and their unavailability will not constitute a basis for

  continuance of the trial. Counsel should always have a sufficient number of witnesses available to

  testify such that recesses or early adjournments of the trial day will not be necessary.            At the

  time fixed for trial, all parties shall be present and ready to proceed. If any party is absent or

  unprepared to proceed, judgment may be entered forthwith in favor of the opposing party. If both

  parties are absent or unprepared, the case may be dismissed, and costs, fees or sanctions may be

  imposed against either or both parties and/or their counsel.

                                       F. Modification of Order

          This Order may not be modified by agreement of the parties. Upon timely, written

  application, however, any party may seek modification as may be necessary to meet a bona fide

  emergency, to avoid irreparable injury or harm, or as may otherwise be necessary to do substantial

  justice. Extensions of time and continuances will not normally be granted for “press of other

  business”or for circumstances that could reasonably have been anticipated by counsel.


          1
          Counsel should be aware that some internet service providers (particularly America
  OnLine) and some e-mail programs automatically compress or otherwise manipulate attachments
  to e-mail messages. The Court will not accept submissions received in compressed format.
  Counsel should contact their service providers and/or technical support for their e-mail programs
  to ensure that attachments are not automatically compressed or modified, or should plan to submit
  documents on disk rather than by e-mail.
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         Failure to comply with the provisions of this Order or the applicable procedural

  rules may result in imposition of sanctions including, but not limited to, vacation of the

  trial, barring the presentation of evidence, dismissal of claims or defenses, entry of default

  or awards of fees and costs in accordance with FED.R.CIV.P. 16 and 37.

         Dated this 26th day of March, 2007

                                                     BY THE COURT:




                                                     Marcia S. Krieger
                                                     United States District Judge
